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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS            )
CORPORATION, et al.,                   )
                                       )
                                       )
          Plaintiffs,                  )
                                       )
    v.                                 )
                                       )           Case No. 8:16-cv-860
FINANCIAL INDUSTRY                     )
REGULATORY AUTHORITY, INC.,            )
                                       )
                                       )
                                       )
                                       )
             Defendant.                )
                                       )

                        EXHIBIT D – Case Management Order

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
     FOR PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION
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